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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: Bankruptcy No. 10-30894 SBB
Chapter 7

GARY DAVID HAUCK, XXX-XX-3149

BRENDA KAY HAUCK, XXX-XX-0812 Adversary Proceeding NO.

Debtors, 10-01888-SBB

V.

STEPHANIE M. MARTIN,
Plaintiff,

vs.
GARY DAVID HAUCK, and
BRENDA KAY HAUCK.
Defendants.

 

ORDER RE: PLAINTIFF’S MOTI()N FOR SUMMARY JUDGMENT
RE: ISSUE OF NONDISCHARGEABILITY WITH SUPPORTING AUTHORITY

 

This matter comes before the Court on Plaintiff’s Motion For Summary Judgrnent Re:
Issue Of Nondischargeability With Supporting Authority. The Court, being advised in the
premises, hereby GRANTS said Motion and DECLARES that Plaintiff’ s claims are exempt from
discharge pursuant to 11 U.S.C. Sections 523(a)(2) and (a)(4).

DATED this 16th day of August, 2011.

 

Hon. Sidney B. Brooks
United States Bankruptcy Court Judge

 

